Case 2:18-cv-14655-KM-SCM Document 1 Filed 10/04/18 Page 1 of 4 PageID: 1



             IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF NEW JERSEY
 RICHARD M. ZELMA, Pro Se,
                                 Civil Action No.
                 Plaintiffs,
       vs.                       (Fed # Not Yet Assigned)
 AUDINA HEARING INSTRUMENTS,
 INC., HEAR BETTER FOR LIFE      BER-L-3490-18
 a/k/a d/b/a BETTER HEARING
 FOR LIFE, L.L.C., JOHN MONACO, Civil Action
 SARAH R. LOVE TRAURING,
 YISROEL (ISREAL) SRULY, and
 MAXSIP TELECOM CORP.,

                    Defendants.


                           NOTICE OF REMOVAL



       PLEASE TAKE NOTICE that Pursuant to 28 U.S.C. §§ 1332,
 1441(a) and 1446, Defendants, Audina Hearing Instruments, Inc., Hear
 Better For Life a/k/a Better Hearing For Life, L.L.C., John Monaco,
 Sarah R. Love Trauring, Yisroel (Isreal) Sruly, and Maxsip Telecom Corp.,
 (“Defendants”) file this Notice of Removal of this case from the Superior
 Court of New Jersey, Bergen County, Law Division, Civil Part to the
 United States District Court for the District of New Jersey, Newark. In
 support of this Notice of Removal, Defendants state as follows:

        CASE BACKGROUND AND FOUNDATION FOR REMOVAL

        1.            On or about July 20, 2018, Plaintiff commenced an
 action in the Superior Court of New Jersey, Bergen County, Law Division,
 against Defendants. Plaintiff filed his First Amended Complaint on
 August 6, 2018. Plaintiffs’ Complaint (“Complaint”) seeks judgment
 against Defendants for damages that Plaintiffs allegedly suffered as a
 result of certain telephone calls made to Plaintiff in violation of 47 USC
 Sec. 227(b)(1)(A)(iii); (b)(3) and (c)(5) the Telephone Consumer Privacy Act
 (“TCPA”), and other claims, including similar claims under N.J.S.A. Sec.
 56:8-130, et seq., the New Jersey Consumer Fraud Act. Plaintiffs’ claims
 against Defendants are based entirely on facts surrounding alleged
 telephone calls to their number made on behalf of the Defendant Hear
 Better For Life a/k/a Hearing Better For Life, L.L.C., (collectively, “Better
Case 2:18-cv-14655-KM-SCM Document 1 Filed 10/04/18 Page 2 of 4 PageID: 2



 Hearing”), and are substantially the same facts for both the state and
 federal claims.

        2.          Upon information and belief, Plaintiff has not
 previously served any of the Defendants. Audina, Hearing Instruments,
 Inc., Hear Better For Life/Hearing Better For Life, and Sarah R. Love
 Trauring were served with copies of the First Amended Complaint on
 September 4, 2018. True and correct copies of the Summons, Complaint
 and other pleadings or orders are attached as Exhibit A, B and C and
 incorporated by reference. Under the New Jersey Rules of Court, there
 remains at least five (5) days in which to file an Answer for the
 Defendants served with the First Amended Complaint on September 4,
 2018.

       3.           This Court has original jurisdiction over this matter
 pursuant to 28 U.S.C. § 1332. Further, this matter is one that may be
 removed to this Court pursuant to 28 U.S.C. § 1441 because it is a civil
 action that is between citizens of different states and in which the
 prospective amount in controversy exceeds $75,000, exclusive of interest
 and costs.

       4.           Venue is proper in this Court because the State Court
 Action is pending in New Jersey, in a county (Bergen) that is nearest to
 The U.S. District Court seated in Newark, New Jersey. See 28 U.S.C. §
 1441(a).


                COMPLETE DIVERSITY OF CITIZENSHIP

       5.          There is complete diversity of citizenship between the
 parties.

 (a)          Plaintiffs. All Plaintiffs are alleged to be citizens of New
 Jersey as alleged in the Complaint. 1. Plaintiff Richard Zelma is a
 citizen of New Jersey, residing in Bergen County. See Complaint at ¶ 2.
 There are no other Defendants.

 (b)          Defendants. All corporate are incorporated in states other
 than New Jersey and its principal places of business are located in states
 other than New Jersey. Audina is a Delaware corporation with its
 principal place of business in New Jersey. Thus, [Defendant] is not a
 citizen of Colorado and is diverse from all of the Plaintiffs.

            AMOUNT IN CONTROVERSY EXCEEDS $75,000



                                     2
Case 2:18-cv-14655-KM-SCM Document 1 Filed 10/04/18 Page 3 of 4 PageID: 3



       6.            Plaintiff’s stated claim is for 76,500.00. See
 Complaint, Prayers for Relief. Notwithstanding Defendants’ defenses and
 denial of the allegations in the Complaint it is apparent that the amount
 in controversy more likely than not exceeds $75,000, exclusive of interest
 and costs.

        7.           “The amount in controversy is ordinarily determined
 by the allegations of the Complaint, or, where they are not dispositive, by
 the allegations in the notice of removal.” See Laughlin v. Kmart Corp.,
 50 F.3d 871, 873 (10th Cir.), cert. denied, 516 U.S. 863 (1995).


       9.          Here, the amount in controversy more likely than not
 exceeds $75,000 based on Plaintiffs’ claims, their alleged injuries and the
 recovery sought. Plaintiffs each seek recovery for alleged statutory
 damages under the TCPA and New Jersey. See Complaint at ¶¶ 18,

       10.           [Defendant] denies the allegations in the
 Complaint. Taking those allegations on their face as true, however, as
 this Court must do for the purpose of determining the propriety of
 removal, it is clear that Plaintiffs’ claims, as evidenced by the documents
 attached hereto as Exhibit A, demonstrate an amount in controversy in
 excess of $75,000.

       11.          Given the complete diversity of the real parties and an
 amount in controversy in excess of $75,000, this Court has jurisdiction
 over the causes of action and claims asserted in the State Court Action
 pursuant to 28 U.S.C. § 1332, and this action properly is removable
 pursuant to 28 U.S.C. § 1441.

                              OTHER ISSUES

        12.         This Notice of Removal is timely filed Audina and at
 least one of the individual defendants served on September 4, 2018. See
 28 U.S.C. § 1446(b).

       13.          Pursuant to D.C. Colo. L Civ R 7.1(A), on July 2, 2004,
 [Attorney for Defendant] advised Plaintiffs’ counsel of the Notice of
 Removal. Plaintiffs’ counsel indicated that he would object to removal.

        14.          This Notice of Removal is being delivered to the pro se
 Plaintiff. A Notice of Filing of Notice of Removal to Federal Court
 (attached as Exhibit A) will be filed in the Superior Court, State of New
 Jersey, Bergen County, once this Notice of Removal has been filed in this
 Court.


                                      3
Case 2:18-cv-14655-KM-SCM Document 1 Filed 10/04/18 Page 4 of 4 PageID: 4



        15.         According to the New Jersey Best Practices Discovery
 Notice the undersigned counsel believes there are no hearings set before
 the Superior Court of New Jersey from which this case is removed, and
 all pleadings and process files therein are attached hereto.

                               CONCLUSION

        Because Plaintiffs and Defendants are citizens of different states,
 and the amount in controversy exceeds $75,000, exclusive of interest
 and costs, this Court has jurisdiction over Plaintiffs’ claims pursuant to
 28 U.S.C. § 1332. Defendants are therefore entitled to remove this case
 to this Court pursuant to 28 U.S.C. § 1441.

       Wherefore, Defendants Audina Hearing Instruments, Inc., Hear
 Better For Life a/k/a Better Hearing For Life, L.L.C., Sarah Love
 Trauring, Ysroel Sruly, and Maxsip Telecom Corp., request that this
 action now pending before the Superior Court of New Jersey, Bergen
 County Vicinage Civil Action No. BER-3490-18, be removed to the United
 States District Court for the State of New Jersey, sitting in Newark.




 Dated: September 4, 2018             /s/ Henry J. Aratow, Jr.
                                      Henry J. Aratow, Jr.
                                      Attorney for Defendants C




                                      4
